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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

    PROCCOR PHARMACEUTICALS, INC.,
         Plaintiff,
    v.                                                Case No. 8:22-cv-02227-SDM-SPF
    WORLD HEALTH PRODUCTS, LLC dba
    GAT SPORT and VITAMIN SHOPPE
    INDUSTRIES LLC, dba THE VITAMIN
    SHOPPE
         Defendants.


         PLAINTIFF’S NOTICE OF STATUS OF THE VITAMIN SHOPPE
                      BANKRUPTCY PROCEEDINGS

           Plaintiff, Proccor Pharmaceuticals, Inc. (“Proccor”) is filing this notice to

   inform the Court of the status of the Vitamin Shoppe bankruptcy proceedings as

   they relate to this case.

          1.      On September 27, 2022, Proccor filed this action (the “Florida

  District Court Action”) against World Health Products, LLC dba GAT Sport

  (“GAT”) and Vitamin Shoppe Industries LLC dba The Vitamin Shoppe (“Vitamin

  Shoppe” and, collectively with Proccor, the “Parties”).

          2.      In the Florida District Court Action, Proccor is suing under federal

  law for trademark infringement, contributory trademark infringement, and unfair

  competition, alleging that, inter alia, GAT infringed on a trademark owned by

  Proccor, and that Vitamin Shoppe’s selling of product it obtained from GAT also
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  infringed on Proccor’s trademark, and that GAT contributed to Vitamin Shoppe’s

  trademark infringement. The defense of the Florida District Court Action for both

  defendants is being handled and paid for by GAT under an indemnification or

  similar arrangement.

          3.   The Florida District Court Action was set for trial starting the week of

  November 11, 2024.

          4.   On November 11, 2024 (the “Petition Date”), the prosecution of the

  Florida District Court Action as to Vitamin Shoppe was stayed pursuant to section

  362(d) of the Bankruptcy Code. As a non-debtor, the automatic stay does not apply

  to GAT and Proccor’s claims against GAT.

          5.   Proccor was not listed as a creditor of Vitamin Shoppe in Vitamin

  Shoppe’s bankruptcy schedules, and, as a known creditor of Vitamin Shoppe, was

  not provided notice by mail of the claims bar date in Vitamin Shoppe’s bankruptcy

  case.

          6.   During the Bankruptcy Case, Vitamin Shoppe sold substantially all of

  its assets. Upon information and belief the assets sold included product obtained

  from GAT that infringed on Proccor’s trademark. Additionally, the sale included

  the assignment by Vitamin Shoppe of the agreement with GAT. Following the

  sale, Vitamin Shoppe confirmed a plan.

          7.   Under 11 U.S.C. § 362(c), in a chapter 11 case the automatic stay


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  continues with respect to property until the property is no longer property of the

  estate, and with respect to any other act until a discharge is granted. Because a

  discharge was granted in the Vitamin Shoppe plan and confirmation order, the

  automatic stay is no longer in effect. Because Proccor does not seek to exercise

  control over property, and because any property at issue here has either been sold

  as part of the sale or revested, there is no property of the estate over which Proccor

  seeks to exercise control. The automatic stay, therefore, does not apply to the

  remaining claims and causes of action, and this case should proceed to trial.

        8.     Additionally, this case can proceed notwithstanding the confirmation

  of Vitamin Shoppe’s plan because Proccor does not seek any recovery against

  Vitamin Shoppe’s bankruptcy estate. Rather, Proccor only seeks to prosecute the

  Florida District Court Action to liquidate its claim and recover upon any judgment

  resulting from the Florida District Court Action solely from GAT, either directly or

  for which GAT is responsible as indemnitor, for damages awarded in the Florida

  District Court Action in favor of Proccor.

   Dated: June 27, 2025

                            By:    /s/ G. Donovan Conwell, Jr.
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                                 Counsel for Plaintiff

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of June 2025, I electronically
  filed a true and correct copy of the foregoing document with the Clerk of the Court
  using CM/ECF, which will send an Electronic Mail notification of same to all
  counsel of record.




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